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                         UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                               ________________________

In re:
                                                Case No. 21-00524-jwb
LARRY ALLEN CLUCHEY,
                                                Chapter 7
                        Debtor.
_______________________________________/

WORLD ENERGY INNOVATIONS,
LLC, f/d/b/a WORTHINGTON ENERGY
INNOVATIONS, LLC,

                              Plaintiff

         v.                                     Adversary Proceeding No. 21-80053-jwb

LARRY ALLEN CLUCHEY,
SHERRY D. CLUCHEY,

                        Defendants.
_______________________________________/

                  PLAINTIFF’S RESPONSE IN OPPOSITION TO
         DEFENDANT SHERRY D. CLUCHEY’S MOTION TO DISMISS COUNT IV,
                     COUNT V, COUNT VI, AND COUNT VII
                          [RELATED TO DOC # 18]

         Plaintiff, World Energy Innovations, LLC, formerly doing business as Worthington Energy

Innovations, LLC (“WEI”), by and through undersigned counsel, hereby submits the following

response in opposition to Defendant Sherry D. Cluchey’s Motion to Dismiss Count IV, Count V,

Count VI, and Count VII (the “Motion to Dismiss”) as follows:

                                     Preliminary Statement

         1.     The arguments made in the Motion to Dismiss ignore applicable precedent of the

United States Court of Appeals for the Sixth Circuit and should be summarily denied. The claims

against Debtor, Larry Allen Cluchey, and his non-filing spouse, Sherry D. Cluchey, are

intrinsically intertwined and will affect the administration of Mr. Cluchey’s estate. Mr. and Mrs.
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Cluchey together own, as tenants by the entireties, a substantial unencumbered asset—their

residence—for which the only mortgage was paid off in May 2020 with an avoidable transfer of

money originating from Mr. Cluchey’s wholly controlled, alter ego business, American Research

Products, Inc. (“ARP”). Determining the claims asserted by WEI against Mr. and Mrs. Cluchey,

jointly, will establish WEI’s entitlement to be paid the proceeds of any liquidation of Mr. and Mrs.

Cluchey’s residence in conjunction with an objection to the exemption Mr. Cluchey has asserted

and is still subject to challenge. The determination of the claims asserted jointly against Mr. and

Mrs. Cluchey will affect the amount of the exemption available and therefore the administration

of Mr. Cluchey’s estate and a potential distribution to Plaintiff, WEI.

       2.      Given that WEI is substantively Mr. Cluchey’s only creditor (and the avoidable

transfer was largely of funds that WEI had paid to ARP under a contract it did not perform), this

Court certainly has at least “related to” jurisdiction to adjudicate the claims asserted against Mrs.

Cluchey, in conjunction with the claims against Mr. Cluchey. Moreover, certain of Counts IV, V,

VI, and/or VII, may establish further personal liability of Mr. Cluchey for which WEI seeks a

determination of nondischargeabililty under Count VIII (11 U.S.C. § 523(a)(2)(A)) and Count IX

(11 U.S.C. § 523(a)(6)), which Mr. Cluchey has not sought to dismiss and has already answered.

       3.      In her Motion to Dismiss, Mrs. Cluchey incorrectly asserts that this Court lacks

jurisdiction to adjudicate state law causes of action against her because both she and WEI are third

parties to the bankruptcy case. As is noted by two of the cases Mrs. Cluchey cites, the Sixth Circuit

adopted the very broad “conceivable effects” test enunciated by the Third Circuit in Pacor, Inc. v.

Higgins (In re Pacor, Inc.), 743 F.2d 984, 994 (3rd Cir. 1984). Michigan Employment Sec.

Comm’n v. Wolverine Radio Co., Inc., 930 F.2d 1132, 1140 (6th Cir. 1991); Miller v. Bruemmer

(In re Bruemmer Dev., LLC), 515 B.R. 551, 555–56 (Bankr. E.D. Mich. 2014); Swain v. United

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States, 437 B.R. 549, 554 (Bankr. E.D. Mich. 2010). Under that test, a bankruptcy court has

jurisdiction over any claim that could conceivably (not definitely) affect “the debtor’s rights,

liabilities, options, or freedom of action (either positively or negative) and which in any way

impacts upon the handling and administration of the bankruptcy estate.” Wolverine Radio, 930

F.2d at 1142 (quoting Pacor, 743 F.2d at 994). The instant case is not a close call. Mrs. Cluchey’s

liability is directly tied to Mr. Cluchey’s asserted tenancy-by-the-entireties exemption in a

substantial unencumbered asset—rendered unencumbered through the improper use of WEI’s

funds paid to ARP for contractual obligations it failed to perform—and will unquestionably impact

the administration of Mr. Cluchey’s estate and his only substantive creditor, WEI. Further, since

the claims against Mrs. Cluchey are also asserted against Mr. Cluchey, a determination of liability

as to one will necessarily determine liability as to the other, as joint transferees of voidable

transfers, such that these claims are appropriately asserted and determined within this adversary

proceeding.

                                       Procedural History

       4.       Mr. Cluchey filed his chapter 7 petition on March 2, 2021, and his case not been

converted or dismissed.

       5.       In his Schedule A/B (Dkt. No. 1), Mr. Cluchey listed his residence, 7095 Mindew

Drive SW, Byron Center, MI 49315, as jointly owned with his non-filing spouse, Sherry D.

Cluchey, as tenants by the entireties, with a value of $250,000.00. See Schedule A/B (Dkt. No. 1)

at ECF Page 10 of 59. He claimed the full value was exempt on Schedule C, and disclosed on

Schedule D that it is unencumbered. See Schedule C (Dkt. No. 1) at ECF Page 17 of 59; Schedule

D (Dkt. No. 1) at ECF Page 21 of 59.



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       6.      On March 31, 2021, the Chapter 7 Trustee, Marcia R. Meoli (the “Trustee”), held

the meeting of creditors, but adjourned it until April 28, 2021. The Trustee has since adjourned

the meeting several times and it is currently scheduled to be held on July 21, 2021, subject to

further adjournment. Accordingly, a party in interest can still timely file an objection to the

tenancy-by-the-entireties exemption asserted by Mr. Cluchey in his and Mrs. Cluchey’s

unencumbered residence pursuant to Rule 4003(b) of the Federal Rules of Bankruptcy Procedures

(the “Bankruptcy Rules”).

       7.      As alleged in the Complaint, Mr. Cluchey subsequently disclosed at his initial

meeting of creditors on March 31, 2021, that “he paid off the Second HELOC Mortgage [as defined

in the Complaint] with his company’s funds—funds of ARP—in May 2020, and subsequent to

filing his Voluntary Petition Comerica Bank released the Second HELOC Mortgage.” Complaint

at 35, ¶ 139 (Dkt. No. 1), ECG Page 35 of 66.

       8.      On April 27, 2021, the Trustee filed a Joint Claims Notice (Dkt. No. 23) (the “Joint

Claims Notice”) in Mr. Cluchey’s chapter 7 case, which set a deadline for creditors to file “joint

claims” in order to receive distributions “from the liquidation of real estate owned jointly by the

Debtor and the Debtor’s spouse (entireties property).” See Joint Claims Notice, In re Cluchey,

Case No. 21-00524-jwb (Bankr. W.D. Mich. April 27, 2021) (Boyd, J.), ECF No. 23.

       9.      On May 14, 2021, WEI filed its Complaint For Money Judgment, To Avoid And

Recover Voidable Transactions And Determine Joint Debt, And To Determine Dischargeability

Of Debt (the “Complaint”) (Dkt. No. 1).

       10.     Also on May 14, 2021, WEI filed its Joint Claim (the “Joint Claim”), Claim No. 1

on the Court’s claims register, which asserts joint claims against Mr. and Mrs. Cluchey of at least

$73,617.43, plus additional, presently unknown amounts. These joint claims are encompassed by

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the claims asserted in Counts IV, V, VI, and VII of the Complaint, as summarized in the prayer

for relief. See Complaint at 65, ¶ B (Dkt. No. 1), ECF Page 65 of 66. A copy of the Complaint

was attached to the Joint Claim. And a copy of the Joint Claim, without the voluminous Complaint

that was attached when filed, is attached as Exhibit A.

        11.      On June 11, 2021, Mr. Cluchey filed a Motion to Dismiss Count I, Count II, and

Count III, as well as Count IV, Count V, Count VI, and Count VII (Dkt. No. 11).

        12.      That same day, Mr. Cluchey also filed an answer (the “Original Answer”) (Dkt.

No. 12). On June 14, 2021, Mr. Cluchey filed a corrected answer (the “Corrected Answer”) (Dkt.

No. 14) and a separate document titled “Defendant Larry Allen Cluchey’s Affirmative Defenses”

(the “Affirmative Defenses Document”) (Dkt. No. 15). The Original Answer, Corrected Answer,

and Affirmative Defenses Document are collectively referred to herein as the “Answer.”1

        13.      On June 14, 2021, Mrs. Cluchey filed her Motion to Dismiss.

        14.      On June 17, 2021, at the Trustee’s request, the Clerk of Court issued a Notice of

Possible Dividend to Creditors (Dkt. No. 32, Case No. 21-00524-jwb). Plaintiff has until mid-

September to file a proof of claim, separate and apart from its Joint Claim, in response to that

Notice which was issued pursuant to Rule 3002(c)(5) of the Bankruptcy Rules.

                                                  Background

        15.      The Complaint recites the lengthy factual background to this adversary proceeding,

which WEI incorporates by reference herein without restating the same. Although the factual

background is developed and detailed, and more than adequately supports the claims asserted in

Counts IV through VII, the claims themselves are plainly stated. Mr. Cluchey had no issue in


  1
    The Original Answer included a recitation of affirmative defenses at the end. It appears that the only difference
between the Original Answer and the Corrected Answer is that the Corrected Answer is signed and the affirmative
defenses were moved to the separate Affirmative Defenses Document.
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answering the detailed factual background, and Mrs. Cluchey has not had any issue clearly

identifying such claims within her Motion to Dismiss.

        16.      As set forth in the Complaint, WEI’s claims originated from a contract entered into

with Mr. Cluchey’s wholly controlled and operated2 alter ego business entity, ARP. Complaint at

3, ¶ 10 (Dkt. No. 1), ECF Page 3 of 66. The contract that WEI entered into with ARP was for the

design, manufacture, and engineering of high pressure adiabatic humidification systems. WEI

agreed to purchase, and ARP agreed to manufacture and deliver, a total of ten (10) adiabatic

humidifier systems for installation and use at the Memorial Sloan Kettering Cancer Center in New

York, New York. Complaint at 3, ¶ 11 (Dkt. No. 1), ECF Page 3 of 66.

        17.      This is an action, in part, to establish the personal liability of Mr. Cluchey to WEI

for the judgment that has already been entered against ARP, in favor of WEI, and to enter a money

judgment against him based upon the fraud he perpetrated upon WEI and because ARP’s corporate

veil should be pierced because it is Mr. Cluchey’s alter ego, which he has used to defraud WEI.

Complaint at 3, ¶ 12 (Dkt. No. 1), ECF Page 3 of 66. Further detailed factual background is set

forth in the Complaint at 4-5, ¶¶ 13-19, as well as the Background and Facts section of the

Complaint at 6-48, ¶¶ 23-189.

        18.      With respect to ARP, WEI has already obtained a final judgment against ARP in

Case No. 3:20-cv-01454-JZ (N.D. Ohio April 19, 2021), ECF No. 24 for the amount of

$1,938,150.27, which is attached to the Complaint as Exhibit FF; however, WEI has no prospect




  2
    Technically, Dale Rueckert was originally involved and purchased common shares for $2,000, but Mr. Cluchey
has made clear that Mr. Rueckert purchased no further shares, Mr. Rueckert lives and works in Wisconsin (where
ARP does not have an office), and Mr. Rueckert has no role in the day-to-day management or operation of ARP,
which was solely controlled, overseen and conducted by Mr. Cluchey in Michigan. See Complaint at 8-10, ¶ 35 (Dkt.
No. 1), ECF Pages 8-10 of 66.
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of recovering these amounts except as against the Defendants herein given that Mr. Cluchey has

retired, shut down ARP, and ARP has no assets. See Complaint at 42, 47 ¶¶ 168(s) and (t), 184.

       19.     As it concerns Mr. and Mrs. Cluchey, this adversary proceeding is also an action,

in part, to avoid and recover from them, as joint debts, certain fraudulent, voidable, and preferential

transfers of ARP’s money, much of which had been paid by WEI to ARP for the performance of

ARP’s obligations to WEI—to build certain adiabatic humidifier systems under the Contract (as

defined in the Complaint)—a Purchase Order #18126-013052-020119 for a total purchase price of

$1,043,695.00. See Complaint at 3, 5, and 16, ¶¶ 11, 20, and 63 (Dkt. No. 1), ECF Pages 3, 5, and

16 of 66.

       20.     The fraudulent, voidable and preferential transfers at issue in Counts IV, V, VI, and

VII are described in the Complaint, in several places. See Complaint at 45, ¶¶ 172-174; at 48,

¶¶ 187-189; at 56-57, ¶ 218 (Count IV). Further, WEI has expressly reserved the right to, and has

put all parties on notice that it may, amend its Complaint to include any other transfers that ARP

made, which may be identified through the course of discovery, including but not limited to any

funds of ARP, or funds that should have been paid to ARP, that were used to pay prior mortgages

on Mr. and Mrs. Cluchey’s residence at 7095 Mindew Drive SW, Byron Center, Michigan 49315.

See Complaint at 48, ¶ 189 (Dkt. No. 1).

       21.     As is alleged in the Complaint and supported with a copy of the negotiable

instrument by which the transfer was made, on May 15, 2020, Mr. Cluchey caused his wholly

controlled business, ARP, to issue a check in the amount of $71,807.67 to Comerica Bank to pay

off the entire balance due and owing on the only mortgage against his and Mrs. Cluchey’s

residence. See Complaint at 31-35, ¶¶ 123-141 (Dkt. No. 1). And he did this a mere two days

after he repudiated the very contract with WEI under which WEI had paid ARP $96,320.78 only

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two and half weeks before (without returning any of those funds to WEI). See Complaint at 4,

¶ 15. This and other categories of transfers of ARP’s assets as alleged in the Complaint (see pp.

35-37, 45, and 48) form the basis for the claims alleged in Counts IV through VII.

         22.      As to the Second HELOC Transfers3 used to pay down and pay off the equity line

of credit on their residence, and as to certain AmEx Transfers4 used to pay personal expenses, the

claims are asserted jointly against Mr. and Mrs. Cluchey, under the cited provisions of the Uniform

Voidable Transactions Act—MCL 566.34(a)(1) (Count IV), MCL 566.34(1)(b) (Count V), MCL

566.35(1) (Count VI), and MCL 566.35(2) (Count VII). Mrs. Cluchey is named as a Defendant

because she was a person and insider for whose benefit the transfers of ARP’s assets—the Second

HELOC Transfers and AmEx Transfers (along with any Transfers identified through the course of

discovery)—were made.

         23.      As Mr. Cluchey has already admitted in his Answer to the Complaint, WEI’s claim

against him for personal liability was the sole reason for his bankruptcy case and WEI is,

substantively, his only creditor, apart from a small number of very negligible claims. See

Complaint at 39-44, ¶¶ 162-171 (Dkt. No. 1); (Corrected) Answer at 52-61, ¶¶ 162-171 (Dkt. No.

14) (admitting many of the allegations of the Complaint).




  3
     As defined in the Complaint and incorporated by reference herein, the term “Second HELOC Transfers” means
“an aggregate amount of $1,809.76 in minimum (i.e., interest) payments on the Second HELOC, plus the $71,807.67
payoff of the Second HELOC—a total of $73,617.43, which reduced their respective liability on the Second HELOC
and increased their equity in 7095 Mindew.” The term “Second HELOC,” in turn, is defined in the Complaint and
incorporated by reference herein to mean “a second home equity line of credit with Comerica Bank [taken out on or
about August 12, 2019 by Mr. and Mrs. Cluchey], account number xxxxxxx1128, in the amount of $75,200.00, by
executing a Credit Agreement and Disclosure Statement—Home Equity Line of Credit.
   4
     As defined in the Complaint and incorporated by reference herein, the term “AmEx Transfers” means “amounts
to AmEx [American Express] on account of the ARP AmEx credit card account [a Business Gold Rewards credit card,
account ending x-x1009, that Mr. Cluchey used on a day-to-day basis to pay both his business and personal expenses,
including but not limited to meals, food, fuel, travel (lodging and air fare), and other purchases] and/or the Cluchey
AmEx credit card [personal AmEx Gold Delta SkyMiles credit card, account ending x-x1001, for which certain
charges were paid with ARP funds], which Mr. Cluchey used to pay personal expenses, including upon information
and belief, certain of the personal, family, and household expenses of Mr. Cluchey and/or Mrs. Cluchey.
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                                               Argument

I.       Legal Standard Applicable to Motions to Dismiss

         24.     “When a court is presented with a Rule 12(b)(6) motion, it may consider the

Complaint and any exhibits attached thereto, public records, items appearing in the record of the

case and exhibits attached to defendant's motion to dismiss so long as they are referred to in the

Complaint and are central to the claims contained therein.” Bassett v. Nat’l Collegiate Athletic

Ass’n, 528 F.3d 426, 430 (6th Cir. 2008). The court is required to “accept all factual allegations

[in the complaint] as true” and to “construe all inferences from those allegations in favor of the

plaintiff.” Kravitz v. Summersett (In re Great Lakes Comnet, Inc.), 588 B.R. 1, 10 (Bankr. W.D.

Mich. 2018) (citing Gavitt v. Born, 835 F.3d 623, 639-40 (6th Cir. 2016)).

         25.     As this Court previously noted in In re Ahlan Indus., Inc., the standard that applies

to a motion to dismiss for lack of jurisdiction under Rule 12(b)(1) varies depending on the type of

jurisdictional “attack” raised:

                 A “facial attack” on the court's jurisdiction under Rule 12(b)(1),
                 which challenges “the complaint on its face without contesting its
                 alleged facts, is like a 12(b)(6) motion in requiring the court to
                 consider the allegations of the complaint as true.” Hartig Drug Co.
                 v. Senju Pharmaceutical Co., 836 F.3d 261, 268 (3d Cir. 2016)
                 (citation omitted); Ohio Nat’l Life Ins. Co. v. United States, 922 F.2d
                 320, 325 (6th Cir. 1990) (when reviewing a facial attack, “a trial
                 court takes the allegations in the complaint as true, which is a similar
                 safeguard employed under 12(b)(6) motions to dismiss”). By
                 contrast, when a 12(b)(1) motion presents a “factual attack” on the
                 court’s jurisdiction, no presumption applies to the truthfulness of the
                 factual allegations in the complaint and the court must “weigh the
                 conflicting evidence to arrive at the factual predicate that subject
                 matter jurisdiction exists or does not exist.” Ohio Nat’l Life Ins., 922
                 F.2d at 325.

In re Ahlan Indus., Inc., No. AP 20-80136, 2021 WL 2134654, at *5 (Bankr. W.D. Mich. May 25,

2021).

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       26.      Here, the Motion to Dismiss presents a facial attack on the Court’s jurisdiction over

Mrs. Cluchey—she does not challenge the facts underlying the Court’s authority and agrees with

this assessment in her Motion to Dismiss. Accordingly, the Court should accept the factual

allegations in the Complaint as true for purposes of ruling on the Motion to Dismiss.

II.    Mrs. Cluchey’s Motion to Dismiss Counts IV through VII Should Be Denied

       27.      In her Motion to Dismiss, Mrs. Cluchey asserts that Counts IV through VII of the

Complaint should be dismissed for lack of subject matter jurisdiction. This is the only argument

asserted, apart from simply incorporating by reference the arguments concerning Bankruptcy Rule

7001 set forth in the Motion to Dismiss (Dkt. No. 11) filed by Mr. Cluchey. WEI has addressed

Bankruptcy Rule 7001 in its response to Mr. Cluchey’s Motion to Dismiss, filed

contemporaneously herewith, which is likewise incorporated by reference herein to the extent Mrs.

Cluchey incorporates those arguments in her Motion to Dismiss.

       28.      Mrs. Cluchey has not attacked the validity of the claims stated in Counts IV through

VII based upon the applicable provisions of Michigan’s UVTA, under Rule 12(b)(6) or otherwise.

And as set forth in the response by WEI to the Motion to Dismiss filed by Mr. Cluchey (Dkt. No.

11), filed contemporaneously, as well as in this Response, said claims are adequately stated. In

short, there is no basis alleged by Mrs. Cluchey to dismiss the claims under either Rule 12(b)(6)

or 12(b)(1), nor to dismiss the claims with prejudice or to award any attorney’s fees in this

circumstance.

       29.      Instead, Mrs. Cluchey’s lone, separately raised argument is that because these

Counts are state law claims being asserted against a non-debtor by a party that is not the debtor or

the trustee, they will (a) not result in any distributions to Mr. Cluchey’s creditors and (b) will have

no effect on the Debtor’s estate. These assertions are incorrect. As a basic matter, the claims


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asserted jointly against Mr. and Mrs. Cluchey are the basis for both a party in interest to object to

Mr. Cluchey’s claimed tenancy-by-the-entireties unencumbered residence, as well as to WEI’s

entitlement to the proceeds of any liquidation or funds paid to resolve the exemption issues.

Moreover, they are the same claims asserted against Mr. Cluchey, for which WEI has sought a

determination of nondischargeability under Counts VIII and IX, in response to which Mr. Cluchey

has already filed his Answer. The establishment of the joint claims asserted against Mr. and Mrs.

Cluchey, as well as the recovery that WEI may realize as a creditor, certainly brings these claims

within the scope of this Court’s subject matter jurisdiction.

       30.     Even though WEI filed its Joint Claim in response to and in accordance with the

Joint Claims Notice, Mrs. Cluchey is nonetheless a properly named co-Defendant to the voidable

transfer claims jointly alleged against her and Mr. Cluchey. WEI has properly named her as a

Defendant to this adversary proceeding. The procedural protections of an adversary proceeding

clearly establish this Court’s jurisdiction over her to determine Count IV, V, VI and VII against

her and her interest in the entireties property. Surely, this fits within the bounds of a bankruptcy

court’s “related to” jurisdiction within the Sixth Circuit. And this approach is in keeping with the

intent of In re Trickett, 14 B.R. 85 (Bankr. W.D. Mich. 1981) and subsequent decisions regarding

the administration of joint claims, which makes such adjudication more efficient and less

cumbersome by eschewing the old pre-Bankruptcy Code practice of deferring discharge for the

joint claims to be litigated elsewhere, and keeping them before the bankruptcy court.

       31.     Bankruptcy courts have subject matter jurisdiction over “all cases under title 11”

and “all civil proceedings arising under title 11, or arising in or related to cases under title 11.” 28

U.S.C. § 1334(a) and (b). WEI asserts that the Court has at least “related to” jurisdiction over the

claims against Mrs. Cluchey.

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       32.     In Wolverine Radio Co., Inc., the Sixth Circuit adopted the “conceivable effects”

test enunciated by the Third Circuit in Pacor:

               The usual articulation of the test for determining whether a civil
               proceeding is related to bankruptcy is whether the outcome of that
               proceeding could conceivably have any effect on the estate being
               administered in bankruptcy. Thus, the proceeding need not
               necessarily be against the debtor or against the debtor's property. An
               action is related to bankruptcy if the outcome could alter the debtor's
               rights, liabilities, options, or freedom of action (either positively or
               negatively) and which in any way impacts upon the handling and
               administration of the bankrupt estate.

Michigan Employment Sec. Comm’n v. Wolverine Radio Co., Inc., 930 F.2d 1132, 1142 (6th Cir.

1991) (emphasis in original) (quoting Pacor, Inc. v. Higgins (In re Pacor, Inc.), 743 F.2d 984, 994

(3rd Cir.1984) (emphasis in original). As the Sixth Circuit recognized in In re Dow Corning Corp.:

               The “emphatic terms in which the jurisdictional grant is described
               in the legislative history, and the extraordinarily broad wording of
               the grant itself, leave us with no doubt that Congress intended to
               grant to the district courts broad jurisdiction in bankruptcy cases.”
               In re Salem, 783 F.2d at 634. Although “situations may arise where
               an extremely tenuous connection to the estate would not satisfy the
               jurisdictional requirement” of Section 1334(b), Robinson v. Mich.
               Consol. Gas Co., Inc., 918 F.2d 579, 584 (6th Cir.1990),
               Congressional intent was “to grant comprehensive jurisdiction to the
               bankruptcy courts so that they might deal efficiently and
               expeditiously with all matters connected with the bankruptcy
               estate.” Celotex Corp. v. Edwards, 514 U.S. 300, [308], 115 S.Ct.
               1493, 1499, 131 L.Ed.2d 403 (1995) (citations omitted).

In re Dow Corning Corp., 86 F.3d 482, 489 (6th Cir. 1996), as amended on denial of reh’g and

reh’g en banc (June 3, 1996). In short, the bankruptcy court has jurisdiction over claims that are

in any way connected to the bankruptcy estate, even when the proceeding is not against the debtor

or against the debtor’s property, except for when a claim’s connection to the estate is “extremely

tenuous.” Wolverine Radio, 930 F.2d at 1142.




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       33.     The connection between the bankruptcy estate and WEI’s claims against Mrs.

Cluchey in Counts IV through VII is strong for two independently sufficient reasons.

       34.     First, WEI’s claims against Mrs. Cluchey will necessarily have an impact on Mr.

Cluchey’s claimed tenancy-by-the-entireties exemption. When he filed his bankruptcy petition,

Mr. Cluchey declared a tenancy-by-the-entireties exemption in his residential real property

pursuant to MCL 600.5451(1)(n). See Schedule C (Dkt. No. 1, Case No. 21-00524-jwb), ECF

Page 17 of 59. A judgment against Mr. and Mrs. Cluchey on any of Counts IV through VII would

support both an objection to the exemption, thereby bringing assets into the estate, as well as WEI’s

entitlement to those proceeds. Litigating claims related to a tenancy-by-the-entireties exemption

within an adversary proceeding is not novel. See, e.g., Liberty State Bank & Trust v. Grosslight

(In re Grosslight), 757 F.3d 773, 777 (6th Cir. 1985); Lee v. Field (In re Lee), 889 F.3d 639, 644-46

(9th Cir. 2018). In fact, there is precedent in this district for a suit against a husband and wife to

determine fraudulent conveyance claims related to a tenancy-by-the-entireties property owned by

the debtor and his non-filing spouse. See, e.g. Lasich v. Wickstrom (In re Wickstrom), 113 B.R.

339 (Bankr. W.D. Mich. 1990).

       35.     Second, because WEI alleges that Mr. and Mrs. Cluchey are jointly liable for

certain of the claims asserted in Counts IV through VII, a determination of liability as to one will

necessarily determine liability as to the other, which is sufficient to bring the claims within the

Court’s “related to” jurisdiction.

       36.     The foregoing are “conceivable effects” warranting this Court’s “related to”

jurisdiction. See Abramowitz v. Palmer, 999 F.2d 1274, 1278 (8th Cir.1993) (bankruptcy court

may exercise related to jurisdiction over fraud claims asserted jointly against debtor and non-

debtor spouse in action to determine dischargeability of those claims as to debtor); In re Zinchiak,

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280 B.R. 117, 127 (Bankr. W.D. Pa. 2002), subsequently aff’d, 406 F.3d 214 (3rd Cir. 2005) (court

has related to jurisdiction to determine deficiency claim against debtor’s non-filing spouse because

court could not determine as to debtor without determining as to non-filing spouse). This is in

keeping with the view that under the Bankruptcy Code “[b]ankruptcy courts are to be an efficient

means of disposing of a debtor’s entire bankruptcy estate, [] and any ‘interpretation of [‘related to’

jurisdiction] must . . . avoid the inefficiencies of piecemeal adjudication and promote judicial

economy by aiding in the efficient and expeditious resolution of all matters connected to the

debtor’s estate.” Palmer, 999 F.2d at 1278 (citing In re Salem Mortg. Co., 783 F.2d 626, 633 (6th

Cir. 1986) and quoting In re Lemco Gypsum, Inc., 910 F.2d 784, 787 (11th Cir. 1990) (citations

omitted)).

       37.     In either case, adjudication of Counts IV through VII will unquestionably affect

Mr. Cluchey’s rights, liabilities, options, or freedom of action and will impact the handling and

administration of the bankruptcy estate, as well as WEI’s potential recovery from the most

significant currently known asset of his estate, the unencumbered residence owned by Mr. and

Mrs. Cluchey as tenants by the entireties.

       38.     The Sixth Circuit, recognizing as much, has expressly found that bankruptcy courts

have “related to” jurisdiction when joint claims are asserted against both a debtor and a non-debtor:

               This Court’s decision in In re Salem has been cited for the
               proposition that “when [a] plaintiff alleges liability resulting from
               the joint conduct of the debtor and non-debtor defendants,
               bankruptcy jurisdiction exists over all claims under section 1334.”
               In re Wood, 825 F.2d at 94 (citing In re Salem, 783 F.2d at 634). In
               re Wood involved a dispute among the directors/stockholders of a
               medical clinic. Dr. Arthur Wood, III sued Dr. and Mrs. James Wood
               and Woodrow Barham for the wrongful appropriation of corporate
               assets. Before the filing of Dr. Arthur Wood’s single complaint
               against all three defendants, Dr. and Mrs. James Wood had filed a
               Chapter 11 petition. A dispute subsequently ensued as to whether
               the entire matter fell within bankruptcy jurisdiction. The Fifth
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               Circuit held that the “complaint [was] sufficiently related to the
               pending bankruptcy to allow the district court to exercise
               jurisdiction under section 1334.” In re Wood, 825 F.2d at 93.

In re Dow Corning Corp., 86 F.3d at 492.

       39.     Here, the Counts that Mrs. Cluchey seeks to dismiss assert joint claims against both

her and Mr. Cluchey. Under Dow Corning Corp., Salem, and Wood, this Court without a doubt

has jurisdiction to adjudicate WEI’s claims against Mrs. Cluchey. Moreover, in accordance with

the Supreme Court of the United States’ ruling in Stern, “where nothing further remains to be

adjudicated with respect to an affirmative claim after the resolution of an issue properly decided

under an Article I court’s summary jurisdiction, the bankruptcy court may award affirmative relief

otherwise only available in a plenary suit.” Harvey v. Dambowsky (In re Dambowsky), 526 B.R.

590, 597 n.6 (Bankr. M.D.N.C. 2015) (citing Stern v. Marshall, 564 U.S. 462, 131 S.Ct. 2594,

2615-18, 180 L.Ed.2d 475 (2011) (citing Katchen v. Landy, 382 U.S. 323, 86 S.Ct. 467, 15 L.Ed.2d

391 (1966); and Langenkamp v. Culp, 498 U.S. 42, 111 S.Ct. 330, 112 L.Ed.2d 343 (1990) (per

curiam)), and observing that such an additional plenary suit “would be a meaningless gesture”).

       40.     The case law relied upon by Mrs. Cluchey in her Motion to Dismiss recognizes that

even a suit between third parties—a third-party complaint filed by a defendant—can be “related

to” a bankruptcy case if it will have some effect on the estate. See, e.g., Miller v. Bruemmer (In

re Bruemmer Dev., LLC), 515 B.R. 551, 556 (Bankr. E.D. Mich. 2014) (citing Celotex Corp. v.

Edwards, 514 U.S. 300, 308, 115 S.Ct. 1493, 131 L.Ed.2d 403 (1995) for the proposition that

“ ‘related to’ proceedings include even ‘suits between third parties which have an effect on the

bankruptcy estate[,]’ ” but finding that the outcome of third-party claims asserted by defendants to

a trustee’s action to avoid and recover fraudulent conveyances, against a third-party, would have

“no conceivable effect on the estate being administered in this Chapter 7 bankruptcy case”).

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       41.     Whether this Court has subject matter jurisdiction is governed by 28 U.S.C.

§ 1334(b) and the “conceivable effects” test adopted by the Sixth Circuit, not Rule 7001 of the

Bankruptcy Rules. In the instant case, which does not involve a third-party complaint, this Court

undoubtedly has subject matter jurisdiction over the claims asserted by WEI in Counts IV through

VII. While Mrs. Cluchey disputes the proper procedure by which to determine the Joint Claim

and Counts IV through VII, there is no question that these claims could have an effect on the

administration of Mr. Cluchey’s estate vis-à-vis an objection to his tenancy-by-the-entireties

exemption and liquidation of his residence (or recovery of funds) that would then be available for

distribution to Plaintiff, WEI, as the holder of joint claims This squarely contradicts the case law

cited in the Motion to Dismiss. See, e.g., Swain, 437 B.R. at 562 (cited in the Motion to Dismiss

for the proposition that where the outcome of the dispute will not result in creditors receiving a

distribution the Court may lack subject matter jurisdiction, and involving a discharged chapter 7

debtor’s action, in a no-asset case, seeking a declaration that she did not owe the IRS a debt for

unpaid withholding taxes).

       42.     Plaintiff, WEI, asserted its claims within this adversary proceeding because: (a)

they are inextricably intertwined with the dischargeability claims asserted against Mr. Cluchey,

revolving around the same facts, (b) to ensure that Plaintiff, WEI preserved its claims against Mr.

and Mrs. Cluchey under the applicable provisions of Michigan’s enactment of the UVTA, in

addition to filing the Joint Claim, and (c) in order to ensure that there would be no dispute that this

Court has jurisdiction over Mrs. Cluchey, a non-filing spouse, in order to adjudicate the Joint Claim

against her. In this context, the procedural safeguards of an adversary proceeding are warranted.

       43.     Finally, should an objection be filed to the Joint Claim, then the most efficient

approach would be to consolidate that contested matter with this adversary proceeding pursuant to

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Rule 42(a) of the Civil Rules, along with Rules 7016, 7042, and 9014 of the Bankruptcy Rules.

See, e.g., In re Miller, 459 B.R. 657, 670 (B.A.P. 6th Cir. 2011), aff’d, 513 F. App’x 566 (6th Cir.

2013) (consolidating matters for a single hearing pursuant to Rules 7016, 7042, and 9014).

III.    The Court Should Deny Mrs. Cluchey’s Motion to Dismiss To the Extent She Seeks
        to Incorporate Mr. Cluchey’s Motion to Dismiss by Reference

        44.     Mrs. Cluchey’s Motion to Dismiss indicates that she joins in all of the arguments

set forth in Mr. Cluchey’s motion to dismiss (Dkt. No. 11).

        45.     WEI hereby incorporates by reference all of the arguments set forth in its Response

to Mr. Cluchey’s Motion to Dismiss (Dkt. No. 11), which is filed contemporaneously herewith.

        46.     For the reasons set forth therein, this Court has jurisdiction under well-established

Sixth Circuit precedent. In re McLaren, 3 F.3d 958, 965 (6th Cir. 1993); State of Michigan v.

Green (In re Green), 556 B.R. 853, 858 (Bankr. W.D. Mich. 2016) (noting that the court has

“constitutional authority to enter a final money judgment in a dischargeability action”) (citing Hart

v. Southern Heritage Bank (In re Hart), 564 F. App’x 773, 776 (6th Cir. 2014) (unpublished)); see

also Vande Ryt v. Peace (In re Peace), 546 B.R. 65, 69 (Bankr. S.D. Ohio 2015) (observing that

the threshold issue when a prepetition claim is unliquidated is whether a debt exists, which

bankruptcy courts in the Sixth Circuit possess jurisdiction to determine) (citing McLaren); In re

Hatch, 465 B.R. 479, 482 (Bankr. W.D. Mich. 2012); In re Russell, 463 B.R. 464, 467 (Bankr.

W.D. Mich. 2012); In re Marks, No. AP 14-80301, 2015 WL 471608, at *2 (Bankr. W.D. Mich.

2015). And Mr. Cluchey’s Motion to Dismiss (Dkt. No. 11) lacks any basis in law and should be

denied in its entirety.

        47.     Further, to the extent the Court might be inclined to entertain the arguments set for

in the Introduction to Answer in Mr. Cluchey’s Answer, the detailed nature of the Complaint is in

no way a ground for a more definitive statement. And on this point, WEI also incorporates by
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reference herein its Response to the Motion to Dismiss filed by Mr. Cluchey (Dkt. No. 11) that is

being filed contemporaneously with this Response to the Motion to Dismiss filed by Mrs. Cluchey.

                                          Conclusion

       WHEREFORE, Plaintiff, WEI, respectfully requests that this Court deny the Motion to

Dismiss in its entirety as the Court has subject matter jurisdiction over Counts IV through VII of

this adversary proceeding, which are asserted jointly against Mr. and Mrs. Cluchey, under

applicable Sixth Circuit precedent, which are inextricably intertwined with the tenancy-by-the-

entireties exemption asserted by Mr. Cluchey, the administration of his estate to which Plaintiff,

WEI is the only substantive creditor, and the establishment of the total amount of his personal

liability to be held nondischargeable.

                                                ICE MILLER LLP


Dated: July 9, 2021                             /s/ Tyson A. Crist
                                                Tyson A. Crist
                                                John C. Cannizzaro
                                                250 West Street, Suite 700
                                                Columbus, OH 43215
                                                Phone: (614) 462-2243
                                                Fax: (614) 224-3266
                                                tyson.crist@icemiller.com
                                                john.cannizzaro@icemiller.com

                                                Counsel for Plaintiff,
                                                World Energy Innovations, LLC,
                                                f/d/b/a Worthington Energy Innovations, LLC




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                               CERTIFICATE OF SERVICE

       I hereby certify that on July 9, 2021, the foregoing PLAINTIFF’S RESPONSE IN

OBJECTION TO DEFENDANT SHERRY D. CLUCHEY’S MOTION TO DISMISS COUNT IV,

COUNT V, COUNT VI, AND COUNT VII was filed electronically with the Clerk using the Court’s

CM/ECF system, which sent notification of such filing to all counsel of record, at the following

addresses:

      Steven Mark Bylenga steve@cbhattorneys.com, nikki@chasebylenga.com,
       molly@cbhattorneys.com, teresa@chasebylenga.com, kelly@cbhattorneys.com,
       1140866420@filings.docketbird.com, bylengasr74219@notify.bestcase.com,
       jo@cbhattorneys.com, jsw@cbhattorneys.com

      Robert F. Wardrop bkfilings@wardroplaw.com, bkrfilings@wardroplaw.com,
       bkwalfilings@wardroplaw.com

       And I hereby further certify that on July 9, 2021, copies of the foregoing PLAINTIFF’S

RESPONSE IN OBJECTION TO DEFENDANT SHERRY D. CLUCHEY’S MOTION TO DISMISS

COUNT IV, COUNT V, COUNT VI, AND COUNT VII were served by first-class U.S. Mail,

postage prepaid, and properly addressed to the following:

       Larry Allen Cluchey
       7095 Mindew Drive SW
       Byron Center, MI 49315

       Sherry D. Cluchey
       7095 Mindew Drive SW
       Byron Center, MI 49315

       Office of the U.S. Trustee
       The Ledyard Building, 2nd Floor
       125 Ottawa NW, Suite 200R
       Grand Rapids, MI 49503




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                                        ICE MILLER LLP


Dated: July 9, 2021                     /s/ Tyson A. Crist
                                        Tyson A. Crist
                                        John C. Cannizzaro
                                        250 West Street, Suite 700
                                        Columbus, OH 43215
                                        Phone: (614) 462-2243
                                        Fax: (614) 224-3266
                                        tyson.crist@icemiller.com
                                        john.cannizzaro@icemiller.com

                                        Counsel for Plaintiff,
                                        World Energy Innovations, LLC,
                                        f/d/b/a Worthington Energy Innovations, LLC




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